                            UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF CALIFORNIA

                                   CIVIL TRIAL MINUTES


Date: 2/09/2018                    Time: 4 Min.              Judge: WILLIAM ALSUP

Case No.: 17-cv-00939-WHA          Case Name: Waymo LLC v. Uber Technologies, Inc.
Deputy Clerk: Angella Meuleman     Court Reporter: Katherine Sullivan / Debra Pas



Attorney for Plaintiff: Charles Verhoeven, Melissa Baily, Duane Lyons, David Eiseman, Andrea
Roberts, David Perlson, James Judah, Jordan Jaffe, Jared Newton, Patrick Schmidt
Also Present: Demarren Berkeley, Corporate Representative
Attorney for Defendant: Arturo Gonzales, Bill Carmody, Esther Chang, Thomas Pardini, Michael
Jacobs, Karen Dunn, Meredith Dearborn, Joseph Grinstein, Michael Brille, Matthew Berry, Shawn
Rabin
Special Master: John Cooper
Also Present: Demarron Berkley, Waymo Representative; Eric Meyhofer, Uber Representative; Tony
West, Uber Corporate Counsel; Nicole Bartow.



                                          PROCEEDINGS


REASON FOR HEARING:         Jury Trial.

RESULT OF HEARING:          Oral Motion to Dismiss With Prejudice - GRANTED. See
                            Attached Log.

                            Witnesses: N/A

                            Admitted Exhibits: N/A




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                             UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA

17-cv-00939-WHA                Waymo LLC v. Uber Technologies, Inc.


                                            TRIAL LOG

JUDGE:                         PLAINTIFF ATTORNEY:               DEFENSE ATTORNEY:
                               Charles Verhoeven, Melissa
                                                                 Arturo Gonzales, Bill Carmody,
William Alsup                  Baily, Duane Lyons, David
                                                                 Michael Jacobs, Esther Chang,
                               Eiseman, Andrea Roberts, David
                                                                 Karen Dunn, Joseph Grinstein,
                               Perlson, James Judah, Jordan
                                                                 Michael Brille, Thomas Pardini,
                               Jaffe, Jared Newton, Patrick
                                                                 Matthew Berry, Shawn Rabin.
                               Schmidt.

Special Master: John Cooper
Also Present:                  Demarren Berkeley, Corp. Rep.     Eric Meyhofer, Corp. Rep.; Tony
                                                                 West; Nicole Bartow
TRIAL DATE:                    REPORTERS:                        CLERK:
February 9, 2018               Katherine Sullivan / Debra Pas    Angella Meuleman



PLF    DEF DATE/TIME            EVI.
NO.    NO OFFERED    ID         REC DESCRIPTION                                             BY
               7:50 a.m.              Court in session. Jury present. Oral Motion made to
                                      Dismiss this case with prejudice - The Court
                                      GRANTS the motion.
               7:54 a.m.              Court adjourned.




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